                         UNITED STATES DISTRICT COURT
                      WESTERN DISTRICT OF NORTH CAROLINA
                              ASHEVILLE DIVISION
                              1:19-cv-130-MOC-WCM

MELISSA KNIBBS,                           )
as personal representative of the Estate  )
of Michael Scott Knibbs,                  )
                                          )
               Plaintiff,                 )
                                          )
vs.                                       )
                                          )
                                          )                  ORDER
                                          )
ANTHONY MOMPHARD, JR.,                    )
individually and in his official capacity )
as a deputy sheriff of the Macon County )
Sheriff’s Department,                     )
ROBERT HOLLAND, in his official           )
capacity as the Sheriff of Macon County, )
WESTERN SURETY COMPANY,                   )
a South Dakota Corporation,               )
THE OHIO CASUALTY INSURANCE )
a New Hampshire Corporation,              )
                                          )
               Defendants.                )
____________________________________)

       THIS MATTER is before the Court on Plaintiff’s Motion for Sanctions, in which

Plaintiff seeks monetary sanctions against Defendants for purportedly violating the parties’

protective order. (Doc. No. 38). Defendants oppose the motion.

       The Court has considered the parties’ respective arguments, and the Court will deny the

sanctions motion for the reasons stated in Defendants’ brief in opposition.

        IT IS SO ORDERED.



                                       Signed: November 5, 2020




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